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                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
                                        SAN FRANCISCO DIVISION
17
18
   In re DMCA Sec. 512(h) Subpoena                       )
19 to Twitter, Inc                                       )       Case No.: 20-mc-80214 VC
                                                         )
20                                                       )       NOTICE OF APPEARANCE
                                                         )
21
   Twitter’s Motion for De Novo                          )       Hon. Vince Chhabria
22 Determination of Dispositive Matter                   )
                                                         )
23                                                `      )
24
25          PLEASE TAKE NOTICE that Phillip R. Malone is admitted or otherwise authorized to

26 practice in this court and hereby appears as counsel for Public Citizen as amicus curiae in this action.
27
28
     NOTICE OF APPEARANCE                                                              20-mc-80214-VC
          Case 4:20-mc-80214-VC Document 38 Filed 04/04/22 Page 2 of 2




 1 Dated: April 4, 2022                        Respectfully submitted,
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                                               ___/s/ Phillip R. Malone________________
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